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                            UNITED STATES MAGISTRATE COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 22-CR-80173-2-AMC

  UNITED STATES OF AMERICA            )
                                      )
  v.                                  )                 PERSUANT TO PROTECTIVE ORDER
                                      )
  WILLIAM MICHAEL SPEARMAN,           )
        Defendant.                    )
  ____________________________________)

                          GOVERNMENT’S SECOND RESPONSE TO
                           THE STANDING DISCOVERY ORDER

         The United States hereby files this second response to the Standing Discovery Order as to

  defendant, William Spearman. This response also complies with Local Rule 88.10 and Federal

  Rule of Criminal Procedure 16 and is filed pursuant to the Protective Order in this case.

         A.     5.      Books, papers, documents, data, photographs, tangible objects, buildings or
                        places, within the government’s possession, custody or control, which are
                        material to the preparation of the defendant’s defense, or which the
                        government intends to use as evidence at trial to prove its case in chief, or
                        which were obtained from or belong to the defendant, may be inspected at
                        a mutually convenient time at: the Office of the United States Attorney,
                        500 A. Australian Ave., West Palm Beach, Florida, Suite 400. Please call
                        the undersigned within 48 hours if you intent to review the evidence to set
                        up a date and time that is convenient to both parties.

                        The attachments to this discovery response are not necessarily copies of all
                        the books, papers, documents, data, etc., that the government may intend to
                        introduce at trial.

                        The government is in possession of the following devices seized from the
                        defendant’s residence on November 2, 2022. The extraction of these
                        devices are available for review by defense counsel as outlined above
                        because they contain contraband of child exploitation material:

                            a.   Lenovo Laptop, serial #R9-V3NC9 with 32gb SanDisk flash drive;
                            b.   Galaxy S10E phone, serial #R58M22E327F;
                            c.   HGST hard drive, serial #Y1GE9Y6L;
                            d.   Getac, serial #RC439S0359;

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                      e. 256gb SanDisk flash drive;
                      f. INFIN ITIV 32gb, serial #BM180325869B;
                      g. 32gb PNY flash drive;
                      h. 16gb red thumb drive;
                      i. 128gb Lexar archive backup;
                      j. 128gb Strantium thumb drive;
                      k. Seagate external hard drive, serial #NABR6R52;
                      l. Seagate external hard drive, serial #NAB53CGA;
                      m. Seagate external hard drive, serial #NAB53CBM;
                      n. Seagate external hard drive, serial #NABR6R4T;
                      o. Samsung SSD 512GB, serial #5250NX0H431721Z;
                      p. Samsung hard drive, serial #S35TJ9EG827365;
                      q. Toshiba Laptop, serial #XC301289R;
                      r. 128gb PNY thumb drive; and
                      s. Lenovo Laptop, serial #PCODTEGP

                   Additionally, the government is in possession of a copy of the server that
                   maintained “Website A” as is available for inspection at the Federal Bureau
                   of Investigation – West Palm Beach. Communication with the undersigned
                   in advance of previewing the same is advisable because of the technical
                   nature of the evidence.

        B.         DEMAND FOR RECIPROCAL DISCOVERY: Pursuant to the Standing
                   Discovery Order, the United States requests the disclosure and production
                   of materials listed in Section (b) of Local Rule 88.10. This request is also
                   made pursuant to Rule 16(b) of the Federal Rules of Criminal Procedure.

        C.         The government will disclose any information or material which may be
                   favorable on the issues of guilt or punishment within the scope of Brady v.
                   Maryland, 373 U.S. 83 (1963), and United States v. Agurs, 427 U.S. 97
                   (1976).

        D.         The government will disclose any payments, promises of immunity,
                   leniency, preferential treatment, or other inducements made to prospective
                   government witnesses, within the scope of Giglio v. United States, 405 U.S.
                   150 (1972), or Napue v. Illinois, 360 U.S. 264 (1959).

        N.         The government hereby makes the following requests for stipulation by the
                   defendant:

                   1. The child pornography alleged by the government is in fact child
                      pornography as defined within Title 18 United States Code Section


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                            2256(9) for purposes of proof of the elemental requirements of the
                            indicted conduct; and

                        2. Venue exists in the Southern District of Florida.

         The government is aware of its continuing duty to disclose such newly discovered
  additional information required by the Standing Discovery Order, Rule 16(c) of the Federal Rules
  of Criminal Procedure, Brady, Giglio, Napue, and the obligation to assure a fair trial.

  The attachments to this response include the following, and will be provided on a flash drive:

             1. One (1) .PDF file entitled, “US v. Good, et al (Spearman), 22-CR-80173-2-AMC,
                RSDO2, Bates Numbers 02453-02851”; and
                   a. Specific pages: 02453 – 02778, relate to the investigation of separately
                       indicted co-conspirator Selwyn Rosenstein in 22-CR-80107-AMC;
                   b. Specific pages: 02779 – 02808, were emailed to defense counsel on March
                       1, 2023;
                   c. Specific pages: 02809 – 02817, were emailed to defense counsel on March
                       2, 2023;
                   d. Specific pages: 02818 – 02851, were emailed to defense counsel on March
                       15, 2023;
             2. Two (2) .MP3 audio files of the interview of co-defendant Boyles entitled as follows
                (mailed to defense counsel on April 11, 2023):
                   a. 230201_0732.mp3;
                   b. 230207_0710.mp3;
             3. Two (2) .MP3 audio files of the interview of co-defendant Garrell entitled as follows
                (mailed to defense counsel on April 11, 2023):
                   a. Matthew Garrell Interview 02.02.2023_230127_0848.mp3
                   b. Matthew Garrell Interview 02.02.2023_230202_0825.mp3


                                                 Respectfully submitted,

                                                 MARKENZY LAPOINTE
                                                 UNITED STATES ATTORNEY

                                           By:     s/Gregory Schiller
                                                 Gregory Schiller
                                                 Assistant United States Attorney
                                                 Florida Bar No.
                                                 500 S. Australian Ave., Suite 400
                                                 West Palm Beach, FL 33401
                                                 Tel: (561) 209-1045
                                                 Email: gregory.schiller@usdoj.gov


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                                  By: s/Kyle Reynolds
                                      Kyle Reynolds
                                      Trial Attorney
                                      U.S. Dept. of Justice, Criminal Division
                                      Child Exploitation and Obscenity Section
                                      Court ID # A5502872
                                      1301 New York Avenue, NW
                                      Washington, DC 20005
                                      Phone: (202) 616-2842
                                      Email: kyle.reynolds@usdoj.gov

                                  By: s/William Clayman
                                        William G. Clayman
                                        Trial Attorney
                                        U.S. Dept. of Justice, Criminal Division
                                        Child Exploitation and Obscenity Section
                                        Court ID # A5502958
                                        1301 New York Avenue, NW
                                        Washington, DC 20005
                                        Phone: (202) 514-0040
                                        Email: william.clayman@usdoj.gov




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                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on April 24, 2023, I electronically filed the foregoing document
  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being
  served this day on all counsel of record on the attached Service List in the manner specified.

                                                     s/Gregory Schiller
                                                    Gregory Schiller
                                                    Assistant United States Attorney




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                                         SERVICE LIST
                            United States v. William Michael Spearman
                                 Case No. 22-CR-80173-2-AMC
                                    United States District Court
                                    Southern District of Florida

 Party                                Counsel
                                      Gregory Schiller
 Plaintiff:
                                      Assistant United States Attorney
 UNITED STATES OF AMERICA
                                      500 S. Australian Ave., Suite 400
                                      West Palm Beach, FL 33401
                                      Email: gregory.schiller@usdoj.gov
                                      via Notice of Electronic Filing generated by CM/ECF

                                      Kyle Reynolds
                                      Trial Attorney
                                      U.S. Dept. of Justice, Criminal Division
                                      Child Exploitation and Obscenity Section
                                      1301 New York Ave., NW
                                      Washington, DC 20530
                                      Email: kyle.reynolds@usdoj.gov
                                      via Notice of Electronic Filing generated by CM/ECF

                                      William G. Clayman
                                      Trial Attorney
                                      U.S. Dept. of Justice, Criminal Division
                                      Child Exploitation and Obscenity Section
                                      1301 New York Avenue, NW
                                      Washington, DC 20005
                                      Email: william.clayman@usdoj.gov
                                      via Notice of Electronic Filing generated by CM/ECF

 Defendant:                           Scott Berry
 William Michael Spearman             Assistant Federal Public Defender
                                      250 South Australian Ave., Suite 400
                                      West Palm Beach, FL 33401
                                      Email: Scott_Berry@fd.org
                                      via Notice of Electronic Filing generated by CM/ECF




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